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                       Ex. C
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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

                                                          MDL NO. 2492
                                                          Case No. 13-cv-09116
IN RE: NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION STUDENT-
                                                          Judge John Z. Lee
ATHLETE CONCUSSION LITIGATION
                                                          Magistrate Judge Brown


                       DECLARATION OF RICHARD S. LEWIS

     I, Richard S. Lewis, declare as follows:

     1.     I am counsel for the Plaintiffs in Walker, et al. v. National College Athletic

            Assoc., No. 1:13-cv-00293 (E.D. Tenn.), which was one of ten (10) cases

            consolidated before this Court under Case No. 13-cv-09116 by the Judicial Panel

            on Multidistrict Litigation in December 2013.

     2.     As counsel for the Walker Plaintiffs, and as counsel in this consolidated

            multidistrict litigation proceeding, I have advocated for the medical monitoring

            interests of former NCAA players. Specifically, I have worked with expert Dr.

            Robert A. Stern to develop a medical monitoring protocol to evaluate athletes for

            mid- and late-life cognitive and behavioral disorders.

     3.     In support of the medical monitoring relief sought, I have met and conferred with

            other Plaintiffs’ counsel in this case, including proposed co-lead counsel Steve W.

            Berman and Joseph J. Siprut, as well as with proposed executive committee

            members and counsel for the other cases consolidated as part of this multidistrict

            litigation proceeding, and will continue to do so.
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       4.      As Special Class Counsel for Monitoring Relief, I agree to confer with co-lead

               counsel and the executive committee members on the issues described in the

               Agreed Motion.

       5.      As Special Class Counsel for Monitoring Relief, I agree to share authority with

               co-lead counsel over the retention of experts and settlement negotiations with

               Defendants, as set forth in the Agreed Motion of Plaintiffs ¶ 7.

       6.      My litigation practice for the past 25 years has focused principally on mass torts,

               consumer, and class actions, as set forth in my resume, attached as Ex. A. I have

               served in a range of leadership positions in mass torts, products liability, and

               antitrust class actions. I am qualified to assume the position of Special Class

               Counsel for Monitoring Relief based on my experience with medical monitoring

               claims and other complex litigation and class action cases. See Richard S. Lewis

               Resume at Ex. A.

       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.




Dated: May 9, 2014                            ______/s/ Richard S. Lewis_________________
                                                    Richard S. Lewis
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